         Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 1 of 19 Page ID #:1


                                                                      ---          Fist.J—_          __..

    Jose aka Molina aka Joe Molina                                       CLERK U.S. DiSiRICT COURI
     i
    14625 Carmenita Road, Suite 202
    Cerritos, CA 90650
 z (310)421-8601                                                          ~0 T ~ 1 2023
    No Fax
 3  No Email                                                           CENTRAL DIStRICT OF CALIFORNIA
                                                                       BY ~?(~/~_             DEPUTY
 4       In Pro Per                                                      i~QS~~or~•~~~~
 5

 6
                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 s

 9

to       BONG CHO aka TINA CHO,an individual                Case No.: 2=23-w-oa~~,~-mow- ~KSK~
ii                     Plaintiff,
                                                            NOTICE OF REMOVAL UNDER
                                                            U.S.C. 1332, 1391, 1441 (a)and 1446
iz                              vs.
                                                            SUPERIOR COURT OF CALIFORNIA
13                                                          CASE NO.21STCV43057
         943 NORMANDIE LLC,a California limited
14
         company; JOSE MOLINA aka JOE
         MOLINA,an individual; and DOES 1
15       through 50, inclusive,                                                                ~~ 1 I
                           Defendant
16

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zi       TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

az       CENTRAL DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND ITS ATTORNEYS OF

23       RECORD:

24              Pursuant to 28 U.S.C. 1332, 1391, 1441 (a) and 1446, the Defendant, Jose Molina aka

25       Joe Molina, Pro Se, files this Notice of Removal of this case from the Superior Court of

26       California,. County of Los Angeles, to the United States District Court for the Central District of

z~       California. In support of this Notice of Removal, Defendant states as follows:

2a



                                      COMPLAINT REMOVING TO FEDERAL COURT— 1
     Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 2 of 19 Page ID #:2




 1

 z                  CASE BACKGROUND AND FOUNDATION FOR REMOVAL
 3   1. On or about 11/22/2021, Plaintiff commenced an action in the Superior Court of California
 4       in Los Angeles County against the Defendant/Cross Plaintiff. Defendant/Cross Plainti~
 5       currently has a pending Complaint filed against the Plaintiff for Various Violations of th
 6       California Civil Code, Declaratory Relief, and/or Intentional Misrepresentation and othe
         causes of action against the Plaintiff of this case.
 e   2. Defendant/Counter Plaintiffs presently seek judgment against Plaintiff for injuries the

 9      Defendant/Counter Plaintiffs allegedly suffered as a result of various violations under th

to      Fair Debt Collection Practices Act. DefendandCounter Plaintiff's claims against Plaintiff ar

ii       based on Plaintiff's alleged misrepresentation of the amount of debt due, and their ow

12      fraudulent actions.

13   3. True and correct copies of the Summons, Complaint and other pleadings or orders ar

14      Attached as Exhibit"A" and incorporated by reference.

15   4. This Court has original jurisdiction over the matter pursuant to 28 U.S.C. 1331. Further, thi

16      matter is one that may be removed to this Court pursuant to 28 U.S.C. 1441 because it is

i~      civil action based upon the Federal Debt Collection Practices Act.

is   5. Venue is proper in this Court because the State Court Action is pending in the Superior Coin

19      of California, Los Angeles County. See 28 U.S.C. 1441 (a).

20

zi                            COMPLETE DIVERSITY OF CITIZENSHIP

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                                 COMPLAINT REMOVING TO FEDERAL COURT- 2
     Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 3 of 19 Page ID #:3




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 2

 3                      AMOUNT IN CONTROVERSY EXCEEDS $75,000.00
 4   7. Plaintiff does not quantify the amount of damages they seek to recover in this case. S
 5       complaint, Prayers for Relief. From the face of the Complaint, however, it is apparent tr
 6       the amount in controversy more likely than not exceeds $75,000.00, exclusive of interest a

 7       COStS.


 a      "The amount in controversy is ordinarily determined by the allegations of the Complaint, or

 9       where they are not dispositive, by the allegations in the Notice of Removal". See Laughlir

io       v. Kmart Corp., SOF.3d 871, 873(10`h Cir.), cert denied, 516 U.S. 863(1995).

ii   9. When the plaintiff's damages are unquantified in the Complaint, the amount in Controv~

12       can be established by allegations in the Removal Notice by reference to allegations on

13      face of the Complaint. Cv. Martin v. Franklin Capital Corp., 251 F.3d 1284, 1290(10`h

14      2001). More specifically, the amount in controversy requirement can be satisfied by showing

15      that it is facially apparent from the Complaint that the claims more likely than not exceec

16      $75,000.00. See Allen v. R&H Oil and Gas Co., 63 F.3d 1326, 1335 (S`" Cir. 1995),

i~      Accord Singer v. State Farm Mutual Automobile Ins. Co., 116 F.3d 373, 377 (9`h Cir

is      1997); See also Gilmer v. The Walt Disney Co., ET all., 915 F. Supp. 1001, 1007(W.D. Arl

19      1996).

20   10. Here, the amount in controversy more like than not exceeds $75,000.00 based on Plaintiff

21      claims, their alleged injuries and the recovery sought.

z2   1 1. Defendant/Counter Plaintiff denies the allegations in the Complaint.          Taking those

23      allegations on their face as true, however, as this Court must do for the purpose o

24      determining the propriety of removal, it is clear that Plaintiff's claims, as evidenced by th~

25      documents attached hereto as Exhibit"A" demonstrate an amount in controversy in excess o

26

z~   12. Given the complete diversity of the real parties and an amount in the controversy in excess

zs      $75,000.00, this Court has jurisdiction over the causes of action and claims asserted in ~



                                COMPLAINT REMOVING TO FEDERAL COURT- 3
         Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 4 of 19 Page ID #:4




     i       State Court Action pursuant to 28 U.S.C. 1332, and this action properly is

 2           pursuant to 28 U.S.C. 1441.

 3       13. Diversity jurisdiction further exists in this case based on the following:

 4              A. The Plaintiff, BONG CHO aka TINA CHO, an individual, and/or its

 5                   and/or Assignees in Interest, cannot state a claim for return of, damages to

 6                   diminution in volume of assets it does not own, or can prove ownership.
                B. Based on its lack of ownership of the subject property, the Plaintiff, BONG CHO al

 8                   TINA CHO, an individual, andlor its Successors and/or Assignees in Interest, has ~

 9                   standing to bring the claims set forth in their Complaint or Motion.

io              C. Due to the fact that the Plaintiff, BONG CHO aka TINA CHO, an individual, and/

ii                   its Successors and/or Assignees in Interest, cannot state a claim upon which reli

12                   may be granted, the only proper parties to this action are the Defendant/Cro

13                   Plaintiff.

14       14. If the party with no standing is disregarded, this Court has original jurisdiction over t

15          action pursuant to 28 U.S.C. 1332, and this case may be removed to this Court pursuant

16          U.S.C. 1441 (a).

17

18                                               OTHER ISSUES

19       15. This Notice of Removal is timely filed. See 28 U.S.C. 1446(b).

Zo       16. This Notice of Removal has been served on Plaintiff's counsel. A Notice of Filing of No

21          of Removal to Federal Court (attached as Exhibit "A") will be filed in the Superior Court o

22          California, County of Los Angeles, as soon as this Notice of Removal has been filed in thi

23          COUI~.


24       17. A Copy of the complete record maintained by the Clerk of the Superior Court, County of

25          Angeles, California is attached to this Notice of Removal as Exhibit "A".

26

z~                                                CONCLUSION

2a



                                    COMPLAINT REMOVING TO FEDERAL COURT- 4
     Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 5 of 19 Page ID #:5




 i          Because Plaintiff and Defendant are citizens of different states, and the amount ii
 z   controversy exceeds $75,000.00, exclusive of interest and costs, this Court has jurisdiction ove:

 3   Plaintiff's claims pursuant to 28 U.S.C. 1332. Defendant is therefore entitled to remove thi

 4   case to this Court pursuant to 28 U.S.C. 1441.

 5          Wherefore, Defendant requests that the action now pending before the Superior Court o:

 6   California, County of Los Angeles, Civil Action No. 21 STCV43057, be removed to this Court.

 7

 s   Dated: 10/30/2023

 9

10                                                                                           Y ~         ,~,


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                                                         Jose Molina aka Joe Molina, In Pro Per
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                               COMPLAINT REMOVING TO FEDERAL COURT- 5
     Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 6 of 19 Page ID #:6




 1

 2                             CERTIFICATE OF SERVICE BY MAIL
 3

 4               The undersigned hereby certifies that on 10/30/2023, he served a copy of

 5

 6                                     NOTICE OF REMOVAL

 7

 a          By placing said copy in an envelope addressed to the persons) hereinafter named, at

 9   places and address shown below, which are the last known addresses, and mailing said envel

io   and contents in the U.S. Mail in Los Angeles, California.

ii
                                    Robert L. Bachman ESQ #56489
12
                                         360 E. 1st St. #986
13                                       Tustin, CA 92780
14
                                          (949)653-5974

15

16

                                                                                       '~         11
17
                                                                           ~'~~~       '~

18                                                               Kevin George
19

20

21

22

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                               COMPLAINT REMOVING TO FEDERAL COURT- 6
     Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 7 of 19 Page ID #:7




 1
      Jose Molina aka Joe Molina
 2   14625 Carmenita Road, Suite 202
     Cerritos, CA 90650
 3   (310) 421-8601
     No Fax
 4   No Email
     In Pro Per
 5

 6                    SUPERIOR COURT, STATE OF CALIFORNIA
                         FOR THE COUNTY OF Los Angeles

 8
     ONG CHO aka TINA CHO, an
 9

io
     ~
     ndividual
                 Plaintiff,
                                                 Case No. 21STCV43057


                                                 DEFENDANT"S NOTICE OF FILING
~1                   Vs.                         NOTICE OF REMOVAL TO FEDERAL
                                                 COURT
12   43 NORMANDIE LLC, a California
13
     invited company; JOSE MOLINA aka
     OE MOLIA, an individual; and
14
     OES 1 through 50, inclusive,
15                Defendant

16
         T0: THE CLERK OF THE ABOVE-ENTICED COURT, AND COUNSEL OF
~~   ECORD PLEASE TAKE NOTICE that defendant, Jose Molina aka
     oe Molina, today filed in the office of clerk of the United
18   States District court for the Central District of
     alifornia, a Notice and Petition removing the
19
     bove-captioned pending action to The United States District
20   Court.
      DERAL CASE#
21

           Pursuant to 28 U.S.C. 1446(d), the filing of The Petition
22

23
     or Removal with the clerk of the District Court together with

24
     iving of this notice "shall effect the removal and The State

25
     ourt shall proceed no further unless and until the case is

26
     emanded" by the United States Court for The Central Dis               ~4

     f California.
27

     Date: 10/30/2023              BY:
za
                                     Jose Molina aka Joe Molina, In Pro Pe


                           COMPLAINT REMOVING TO FEDERAL COURT- 7
         Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 8 of 19 Page ID #:8




     1


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     G                              Exhibit"A"
     J


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                             COMPLAINT REMOVING TO FEDERAL COURT- 8
                Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 9 of 19 Page ID #:9
                                                                                         SUM-110
                                            SUMMONS                                                             FOR COURT USE ONL Y
                                                                                                             (SOLO PARR USO DE LA CORTE)
                                        Cr0SS-Co m p Ia i nt
           (CITACION JUDICIAL—CONTRADEMANDA)
   NOTICE TO CROSS-DEFENDANT:
 (AVISO AL CONTRA-DEMANDADO):
 BONG CtlO AKA TINn CI IO nN[) ROES l 1'I IROUGI I IU,
  I NCLUSIVE,
 YOU ARE BEING SUED BY CROSS-COMPLAINANT:
 (LO ESTLI DEMANDANDO EL CONTRADEMANDANTE):

'~4z NORMnNUIE. LL(', a ('alifornia limited liability company

      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a
   copy served on the cross-complainant. A letter or phone call will not protect you. Your written response must be in proper legal form if you
   want the court to hear your case. There may be a court form that you can use for your response. You can find these court forms and more
   information at the California Courts Online Self-Help Center (www.courtin/o.ca.gov/se/fhelp), your county law library, or the courthouse
   nearest you. If you cannot pay the filing fee, ask the court clerk for a fee waiver form. If you do not file your response on time, you may
   lose the case by default, and your wages, money, and property may be taken without further warning from the court.
       There arc other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an
   attorney referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services
   program. You can locate these nonprofit groups at the California Legal Services Web site (www.lawhelpcali(ornia.org), the California
   Courts Online Self-Help Center (www.courfinfo.ca.gov/sel/helpJ, or by contacting your local court or county bar association. NOTE: The
   court has a statutory lien for waived fees and costs on any settlement or arbitration award of =10,000 or more in a civil case. The courts
   lien must be paid before the court will dismiss the case.
      Tiene 30 D/AS DE CALENDARIO despues de que le entreguen esta citation yPape/es legates Para presentar una respuesta por esgrifo
  en esta torte y hater que se entregue una copia al contrademandanfe. Una Carta o una llamada telefdnica no !o protegen. Su respuesta
  por escrito tiene que estar en /ormato legal correcto si desea que procesen su caso en la torte. Es posible que haya un formulario que
  usted pueda usar para su respuesta. Puede encontrar estos formularios de la torte y mas information en el Centro de Ayuda de las
  Cones de Cali/omia (www.sucorte.ca,gov), en la bibliofeca de leyes de su condado o en la torte que le quede mks cerca. Si no puede
  pagar la cuota de presentation, Aida a/ secretario de !a torte que le de un /ormulario de exenci6n de pago de cuotas. Si no presents su
  respuesfa a tiempo, puede perder e/ caso por incumplimienfo y la torte le podra guitar su sueldo, dinero y bienes sin mss adverfencia.
      Hay otros requisitos legates. Es recomenda6le que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un
  servicio de remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos pars obfene~ servicios legates
  gratuitos de un programs de servicios legates sin (fines de lucro. Puede encontrar estos grupos sin Tnes de lucro en el sitio web de
  Cali/ornia Legal Services,(www.lawhelpcali(ornia.org), en el Centro de Ayuda de las Corfes de Cali/ornia (www.sucorte.ca.gov), o
  oni~ndose en contacto con la torte o el cofegio de abogados locales. AVISO: Por ley, la torte fiene derecho a reclamar las cuotas y los
  cosfos exentos por imponer un gravamen sobre cualquier recuperation de x10,000 o mss de valor recibida mediante un acuerdo o una
  concesion de arbitraje en un caso de derecho civil. Tiene que pagar el gravamen de la torte antes de que la torte pueda desechar e/ caso.
 TIl@ f12f112 8f1C~ BCIC~f@SS O~ ~Fl@ COUfL IS:                                        SHORT NAME OF CASE(/mm Compl~rM).(Nombre dt~ C~~.m):
(EI Hombre y direccibn de la torte es):
 I ,c~s nngcic~ Superior Court-Stanley Mosk Courth~usc                                 cAs~NUMRE~:~Nom~,~~~~~aso~
      1 North l till St., Los Angeles, Cl~ 90012
 The name, address, and telephone number of cross-complainant's attorney, or cross~omplainani without an attorney, is:
(EI Hombre, la dirercion y el n~imero de telefono del abogado del contrademandante, odel contrademandanle que no tiene
 aboyado, es):
 Rc~bcrt L. Bachman, Esc.360 E. 1st ST. #986, Tustin, CA 927x4(949)653-5974 "I'cl
 DATE:                                                              Clerk, by                                                                 ,Deputy
(Fecha)                                                             (Secretario)                                                              (Adjunto)
(For proof of service of this summons, use Proof of Service o(Summons ((orm POS-010).)
(Para prueba de cntrega de esta citation use el(ormulario Proof of Service of Summons (POS-010).)
                                       NOTICE TO THE PERSON SERVED: You are served
                                       1. ~ as an individual cross-defendant.
                                       2. 0 as the person sued under the fictitious name of (specilyJ:



                                       ;_ 0 on behalf of (specify)

                                           under:0 CCP 416.10 (corporation)                       0 CCP 416.60 (minor)
                                                  0 CCP 416.20 (defunct corporation)              0 CCP 41670 (conservalee)
                                                        CCP 416.40 (association or partnership)           CCP 416.90 (authorized person)
                                                   other (specify):
                                       4. ~ by personal delivery on (date):
                                                                                                                                                 Page t of 7
 Foam AdopleA for ManAalory Use
   Judicial Ca~nril of Calihn nix                 SUMMONS—CROSS-COMPLAINT                                      Code of Grvd Procedure, §§ 41220, 428.60. 9f,5
                                                                                                                                        www.courtinlo.ca.gnv
   suM-~~o ~ac~ .i~ry i . aoos~
Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 10 of 19 Page ID #:10


     Robert L. Bachman, Esq. SBN 56489
     1
     3G0 E. I ~` St. #986
  2 Tustin, CA 92780

  3 (949)653-5974-TELEPHONE
    (949)653-5984-FAX
  4 rlbesq~;aoLcom
     rlbesq@bachmanlaw.com
  5

 (,

  7                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
  ti                          IN AND FOR THE COUNTY OF LOS ANGELES
  ~~
          130NG C'HO aka TINA C'HO, an individual,~C'ase Nn.: 21STCV43057
  O

 Il                    Plaintiff,                  ssigned for All Purposes to:
                                                   ONORABLE RICHARD J. BURDGE
 12             vs.                                apartment 37
 13
         943 NORMANDIE LLC, a Califon~ia    CROSS-COMPLAINT BY 943 NORMANDIE
14       limited company; JOSE CROSS-       LLC FOR:
         COMPLAINANT'S MANAGING
15       MEMBER, MOLINA aka JOE MOI.IA, an     1. BREACH OF CONTRACT;
         individual; and DOES 1 through 50,   2. BREACH OF IMPLIED COVENANT'
IG
         inclusive,                               OF GOOD FAITH AND FAIR
17                                                DEALING;
                         Defendants.          3. SPECIFIC PERFORMANCE; AND
18                                            4. UNJUST ENRICHMENT.
19

20       943 NORMANDIE, LLC, a
         limited liability company,
21
22                      Cross-Complainant,

23       (30NG C'HO aka TINA C'HO and ROES 1-
          10, INC'Ll1SIVE,
24
25                      Cross-Defendant.

(,
,~             COMES NOW Cmss-Complainant 943 NORMANDIE LLC ("Cross-Complainant") a~xl

~~       complains against Cross-Defendant BONG CHO aka TINA CHO ("Cross-Defendant" car "('ho")

         and ROES 1 through 25 as follows:


              CROSS-COMPLAINT FOR DAMAGES,SPECIFIC PERFORMANCE,AND 07'IIER
                F.QUITAB[,F RELIEF BY CROSS-COMPLAINANT 943 NORMANDIE,I.LC
Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 11 of 19 Page ID #:11



                                                   THE PARTIES
                1. At all times herein mentioned, Cross-Complainant 943 Normandie, LLC ("Cross-
        Complainant") is a limited liability compan}~ organized under the laws ofthe State of California

        with its principal place of business located at 1462 Carmenita Road, Suite 202, Cerritos, CA

        y065U. Cross-Complainant is in the business of developing and remodeling real properties.
 ,
 (              2. Cross-Complainant is informed and believes and based thereon alleges that at all ti

   7    mentioned herein. Cross-Defendant is an individual residing in the County of Los Angeles.
   S    California.
   ~~           3. Cross-Complainant does not know the h•ue names and capacities ofCross-Defendants
 1O     sued here as ROES 1-10, inclusive, and Cross-Complainant will amend this cross-complaint t~
 11     state their true names and capacities when they have been ascertained.
 l~             4. Upon information and belief; Cross-Complainant alleges that each of the fictitiously
 1 .~   named Cross-Defendants are responsible in some manner or form i'or the failure of Cross-

 1 -~   Defendants to proceed as instructed to close the real estate transaction contemplated by a
 l~     purchase and sale agreement set forth below.
1(~             5. Upon information and belief, Cross-Complainant alleges that each Cross-Defendants.
17      both named and designated as ROE, was an agent, partner, or successor of each other Cross-

1K      Defendants, and, in doing the things hereinafter alleged, was acting within the scope and purpose

19      oi~such agency or pa~~tnc~~ship with fill knowledge oi~the facts anal ~~ ith the ratification and
~p      approval of each other.
~I             6. The claims which are subject ofthis action arose in the County of Los Angeles, State
~?      of California, and are not subject to the provisions of California Civil Code sections 1812.10,
~; ?984.4, or California Code of Civil Procedure section 395(b).

2~4                                        GENERAL ALLEGATION
~~             7. On or about March 6, 2020, at Los Angeles, California, Cross-Complainant, by and
?6      through its managing members, and Cross-Defendant Cho, ROES 1-10 entered into a written
,~      California Residential Purchase Agreement and Joint Escrow Instructions (the "PSA") f'or the
~~      E~u~•chase ofcertain real property commonly known as 3200 San Marino Street, Los Angeles,




             CROSS-COMPLAINT FOR DAMAGES,SPECIFIC PERFORMANCE,AND OTHER
                EQUITABLE RELIEF BY CROSS-COMPLAINANT 943 NORMANDIE,LLC
Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 12 of 19 Page ID #:12


      1    California 90006, AP 5078-001-001 (the "Subject Property")for the sum of tour hundred eighty

           thousand dollars ($480,000.00). A true and correct copy of the PSA is attanc~d heret~~ as

          Exhibit 1 and is incorporated herein by this reference.

     -~           8. The parties agreed to close escrow.

                  9. At all times it was contemplated by all parties that in order to close the real estate

    (,    transaction alleged above. Cross-Defendant needed to sign a grant deed conveying her rights into

     7    the property to the purchaser.

     K            10. The parties went through constant renegotiation and on several occasions the
     ~~   i ~~,tructions to escrow were amended.

1O                1 1. On or about May 21, 2020, at 5:02 P.M. PDT,Cross-Complainant sent an electronic
11        email to Ms. Sarah Lee of Central Escrow LA and Cross-Defendant Cho noting as follows:

l ~'                     Sarah, nlcase send me latest escrow instructions.

13 I                     As a Revision:

1 -1                     1. ~lOk gets released to Scller tomorro~~ l-I

l                        2. $2k gets deposited in Escrow by buyc~~l•I

1(~                      3. ~lOk increase deposit in 60 daysl•l

17                       4. Upon $lOk Release simultaneously Seller to deposit Grant Deed with

18                       Escrow.

1 ~)                     Addendum/buyer takes possession tomorrow and c~~n cun~mence i•chah.
?O                       [Emphasis added.]

'
~I        Attached hereto as Exhibit 2 is a true and correct a~py ol~the cicrtre>nic mail sent on Ma~~ 21.
-,        ?020.

23                12. Cross-Com}~lainaiv's managing member, Joe Molina, became frustrated with the

24        constant changes and requested a meeting with Cross-Defendant Cho so that they could meet at

2~        Central Escrow LA located at 3660 Wilshire Boulevard, Suite 108, Los Angeles, California.

(,        Cross-Defendant Cho and Cross-Complainant's managing member, Joe Molina, met with Ms.
~~        Sarah Lee of Central Escrow LA. On or about May 22, 2020, the meeting took place at 1:00
    ;
    ~     P.M. At that meeting and time, in front of Cross-Defendant Cho, Cross-Complainant's managit




               CROSS-COMPLAINT FOR DAMAGES,SPECIFIC PERFORMANCE,AND OTHER
                 EQUITABLE RELIEF BY CROSS-COMPLAINANT 943 NORMANDIE,LLC
Case 2:23-cv-09162-GW-KS Document 1 Filed 10/31/23 Page 13 of 19 Page ID #:13


     1    member, Joe Molina instructed Ms. Sarah Lee to prepare a grant deed on the transaction and to
  7       present that via electronic mail to Cross-Defendant Cho for her signature and to amend the
  3      escrow instructions to retlect the changes. Previously, by way ofemail. Cross-Defendant had
 4       requested the same. Cross-Defendant Cho did not raise any objection, protest, or raise any
 5       dispute as to said instructions to sign the grant deed and to deliver it to Central Escrow LA.
 h       Cross-Complainant's managing member, Joe Molina, then further instructed Ms. Sarah Lee of
 7       Central Escrow LA that the funds deposited by the buyer in the transaction should not he
 8       released to Cross-Defendant Cho until such time she delivered and deposited a signed grant deed
 9       with Central Escrow LA. All parties were in agreement. No one disagreed or objected.
10               1 3. On or about May 26, 2020, Ms. Sarah Lee of Central Escrow LA forwarded via
         electronic mail a copy of the grant deed to all parties, including but not limited to Cross-
12       Defendant Cho and Cross-Complainant's managing member. Joe Molina . Attached hereto as
13       Exhibit 3 is a true and correct copy of said email with a copy of the grant deed delivered and
14       with instructions that it he signed by Cross-Defendant Cho.
15               14. At no point did Cross-Defendant Cho sign the grant deed. On information and
16       belief, she also did not deliver and deposit the signed grant deed with Ms. Sarah Lee of Central
17       Escrow LA per the instructions contained in the electronic mail sent toCross-Defendant C:ho on
18       May 26, 2020, and per the subsequent meeting where all parties had agreed on how to proceed to
19       close the transaction.
20              15. Cross-Complainant's managing member, Joe Molina, had further instructed Central
21       Escrow I.A not to release any funds until such time Cross-Defendant Cho had delivered and
~2       deposited with Central Escrow LA the signed grant deed. Despite such instructions, Central
23       Escrow LA released funds in the amount often thousand dollars($10.000.00) on or about .lunc
24       5,2020.
25              16. On information and belief, Cross-Defendant Cho received this first disbursement of~
26       funds in the amount often thousand dollars($10,000.00) and did not sign the grant deed and
27 ~ deposit with Central Escrow LA the signed grant deed delivered to heron May 2G, 2020 as she
28       had been instructed to do by Central Escrow LA.



              CROSS-COMPLAINT FOR DAMAGES,SPECIFIC PERFORMANCE,AND OTHER
                EQUITABLE RELIEF BY CROSS-COMPLAINANT 943 NORMANDIE,LLC
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     1           17. Cross-Complainant's managing member, Joe Molina, had further instructed Central
          Escrow LA not to release any funds until such time Cross-Defendant Cho had delivered and
         deposited with Central Escrow LA the grant deed. Despite such instructions. Central Escrow LA~
  -4     released funds in the amount of fifteen thousand dollars($15,000.00) by mistake on or about
         ~ June 11, 2020.
,
(                18. On information and belief, Cross-Defendant Cho received this second disbursement
  7      of funds in the amount of~ fifteen thousand dollars ($15,000.00) and did not sign the grant deed,
  x      and deposit with Central Escrow LA the signed grant deed delivered to her on May 26, 2020.
  y              l9. Cross-Complainant at all times fully performed as per the last instructions and
1O       directions given to Escrow to changed how the transaction would be closed by the parties.
11               20. At the time of this complaint, Cross-Defendant by her omissions has refused to sign
1?       for well over hventy (20) months after escrow requested that she sign the grant deed on or about
13       May 26, 2020.
1 -t             2l. As a direct result of Cross-Defendant's refusal to sign. Cross-Complainant could n~~
1>       longer continue in the process and release even further significant amounts to close the
16       transaction as Cross-Defendant Cho was defiant that she would not sell the property and Cross-
17       Complainant's performance was excused.
1 fi            22. Prior to this, on multiple occasions, Cross-Defendant Cho and Cross-Complainant's
19       managing member, Joe Molina, had spoken face-to-face and Ms. Cho had indicated to him that
20       she did not want to close the transaction because his development project next door the the
~~       Subject Property had increased the value of her property and she wanted out ofthe transaction
22       and wanted to cancel. She indicated that clearly and unequivocally to Cross-Defendant. This
23       was the reason why Cross-Defendant lost faith in Ms. Cho's ability to honor the written
24       agreement and proceed in good faith to close the transaction and restructured the transaction
25       through a meeting at Central Escrow LA to cause the signature of the grant deed to occur first
26       before funds would he released. Cross-Complainant's managing member, Joe Molina, accurate
~~       saw the lack of good faith on the part of Cross-Defendant and saw it as a ploy to continue to
~g       renegotiate the deal for a higher purchase price in favor ofCross-Defendant Cho.


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                                      JURISDICTION AND VENUE
             23. Jurisdiction and venue for this action properly lies with the Superior Court for the
     County of Los Angeles as the agreement on the aforementioned Subject Property was entered
 4 ~ ~ into in Los Angeles County, California.
 5                                      FIRST CAUSE OF ACTION
 6                                BREACH OF WRITTEN CONTRACT
 7                                  (As Against All Cross-Defendants)
 8           24. Cross-Complainant hereby realleges and incorporates by reference paragraphs 1
 9   through 22 hereof as if fully set forth herein.
10           25. Cross-Complainant has performed all conditions, covenants, and promises required
     on its part to be performed in accordance with the terms and co»ditions of the contract.
12           26. For over a year, Cross-Defendants have failed and refused to faithfully perform the
l3   contract and breached the contract by unreasonably interfering with the efforts of Cross-
14   Complainant to acquire, purchase, renovate, construct. and refinance the Subject Property and by ~
15   breaching the covenant of good faith and fair dealing inherent in every contract.
16           27. Each of the incidents specified in paragraphs 10 through 20, among others, constitute
17   a separate and independent material breach of the PSA between the parties. Collectively, these
18   actions have materially breached the PSA as a whole and deprived Cross-Complainant of its
l9   contractual rights and the consideration it was entitled to receive.
20          28. On several occasions before filing this cross-complaint, Cross-Complainant through
21   escrow has made a demand on Cross-Defendants to faithfully perform the contract by signing
22   and delivery the grant deed, but Cross-Defendant Cho failed, refused, and neglected to do so.
23          29. As a proximate result ofCross-Defendant's failure and refusal to faithfully perforn~
24   the contract, Cross-Complainant has suffered damages in a sum according to proof at trial, plus
25   interest thereon at the legal rate as may be determined by the court, plus attorneys' fees if
26   provided for in the contract, plus costs of suit, and such other and further sums as may be
27   determined at trial.
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           CROSS-COMPLAINT FOR DAMAGES,SPECIFIC PERFORMANCE,AND OTHER
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 1               30. WHEREFORE,Cross-Complainant prays for judgment against Cross-Defendants,
      and each of them, as hereinafter set forth.
                                         SECOND CAUSE OF ACTION
 -t         BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
                                       (As Against All Cross-Defendants)
 6                   (Breach of Good Faith and Fair Dealing As Against All Defendants)

 7               31. Cross-Complainant hereby reaUeges and incorporates by reference paragraphs 1

 8    through 22 hereof as if'fully set forth herein.

 9               32. Cross-Complainant did all, or substantially all of the significant things that the PSA

10    and later by agreements required to do. When Cross-Defendant failed to perform her end of the

11    bargain by failing to sign and deliver the grant deed to Central Escrow LA, Cross-Complainant

12    was further excused from having to do anything further in this transaction.

13               33. All co~lditions required Cross-Defendant Cho to perform by signing the grant deed.

14               34. The refusal by Cross-Defendant to sign and deliver the grant deed to Central rscro~~

15    LA deprived Cross-Complainant from receiving the benefits under the agreement between the

16    parties.

17           35. Cross-Defendant Cho by failing to sign and deliver the grant deed to Central Escrow

18    LA did not act fairly and in good faith.

19           36. In summary, a covenant of'good faith and fair dealing is implied in every contract.

20    Cross-Defendant has engaged in a deliberate course of conduct to breach, undermine, and
21    frustrate the agreement. This conduct evidences Cross-Defendants had faith and breach of the
22    covenant of good faith and fair dealing. As a result of these breaches, Cross-Complainant has
23     uffered substantial direct and consequential damages, will continue to suffer damages, and has
24     peen deprived of the benefit of his agreement with Cross-Defendants.
25           37. WHEREFORE,Cross-Complainant prays for judgment against Cross-Defendants.
26    .nd each of them, as hereinafter set forth.
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28     \\


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            CROSS-COMPLAINT FOR DAMAGES,SPECIFIC PERFORMANCE,AND OTHER
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                                         THIRD CAUSE OF ACTION
                                         SPECIFIC PERFORMANCE
                                      (As Against All Cross-Defendants)
  -4           38. Cross-Complainant hereby realleges and incorporates by reference paragraphs 1
       through 22 hereof as if fully set forth herein.
  h            39. Cross-Complainant's remedy in damages or in an action at law for this breach of
 7     Cross-Defendant's duties under the purchase agreement annexed hereto will be inadequate to
 8     protect Cross-Complainant's rights in the Subject Property and protect the investment of time,
  y    labor materials, and costs expended in restoring the Subject Property by brining it into
1O     compliance under the building codes of the City of Los Angeles or to grant Cross-Complainant
it     adequate relief.
1?            40. The Cross-Complainant continues to refuse to sign the grant deed and deliver it to
13     escrow.
14            41. Cross-Defendants wrongful detention of the funds released along with her refusal to
15     sign the grant deed would constitute unjust enrichment.
16            42. WHEREFORE,Cross-Complainant prays for judgment against Cross-Defendants,
17     and each ofthem, as hereinafter set forth.
18                                      FOURTH CAUSE OF ACTION
19                                         UNJUST ENRICHMENT
20                                   (As Against All Cross-Defendants)
~~            43. Cross-Complainant hereby realleges and incorporates by reference paragraphs 1
~~     through 22 hereof as if fully set forth herein.
-_~
 ,,           44. Cross-Complainant is informed and believes, and on that basis alleges, that Cross-
24     Defendants improperly refused to sign the grant deed presented by Central Escrow LA for
25     signature and has continued to refuse to sign. Moreover, Cross-Complainant on information and
26     belief, and on that basis alleges, that Cross-Defendant sought to find "fault" per the ternls of
~~     agreement by the parties so that she could gain advantage and keep all improvements on the
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     1   4~roperty and keep all the monies disbursed to her by escrow without having a proper basis f'or
         doing so.
                 45. As a result ofCross-Complainants wrongful conduct, Cross-Defendants have been
 -~      unjustly enriched at the expense of Cross-Complainant as described abo~-e.
                 46. As a direct and proximate result of Cross-Defendants actions and omissions, Cross-
 6       Complainant has suffered damages, including losses described above and other losses presently
 7       unknown to Curther alleged when discovered. Cross-Complainant is entitled to a constructi~~e
 8       trust and restitution of the amounts wrongfully taken and retained by Cross-Defendants at Cross-
 9 , Complainant's expense.

]0                                                    PRAYER
Il       As to the First Cause of Action:
l2               1. For general damages in an amount to be proven at trial;

13              2. For special damages in an amount to be proven at trial;

14       As to the Second and Fourth Cause of Action:

15              3. For constructive trust and restitution ofamounts wrongfully taken to be proven at trial.
16       As to the Third Cause of Action:
17              4. For an order compelling the Sale of the Subject Property to Cross-Complainant on the

fE:~ agreed terms reelected on the PSA;

19              5. for an Order that the court will retain jurisdiction of this action in order to implement

20       and carry out the terms of all orders and decrees that may he entered herein or to entertain any
21       suitable application or motion by Cross-Complainant tier aclditi~mal relief within the jurisdiction
~2       of this Court.
23       As to all Causes of Action:
24              6. Foi~ interest on the damages in an amount to be proven at trial;
25              7. For attorneys' fees and costs of suit incurred herein to the extent permitted by law:
26 l and
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                8. Any such car further rclict~that the court considers ar~~rc~priatc and prorcr.

     2                                                 CROSS COMPLAINANT

                                                       943 NORMANDIE           C, a California Limited
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                   Liability C"ampany                                   i
     5
         Dated: Fehruary 7, 2O2?
 (~
                                                       ROBER L. BACIIMAN, CSQ ATTORNEY
   7                                                   FOR C OSS COMPLAINANT

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